[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
The plaintiff received a verdict in this jury trial and was awarded $60,000 as economic damages and $10,000 non-economic damages for a total sum of $70.000.
The defendant filed a motion for a remittitur addressed to the economic damage award of $60,000. A motion to set aside the verdict was also filed by the defendant.
On July 24, 2002 the motion for remittitur was argued and the motion was granted. The undersigned ordered a reduction of the verdict and reduced the economic damages to $2704.60. The total verdict was reduced to $12,704.60.
The remittitur was ordered because the economic damage award was excessive. The medical expenses of the plaintiff were introduced, but there was no evidence based upon a degree of medical certainty that future medical expenses will be necessary.
The plaintiff must accept the remittitur ordered by August 19, 2002 and must advise the Superior Court Clerk of its decision by that date. If not accepted the defendant's motion to set aside the verdict is granted and the jury award is set aside and a new trial is ordered.
  Howard F. Zoarski Judge Trial Referee